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                     Exhibit 3
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                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       06/12/2020



            Christopher Ledbetter, date of birth (DOB)      /1990, was interviewed
        while in custody at the 3301 West Memorial Road in Oklahoma City, Oklahoma.
        After being advised of the identity of the interviewing Agents and the
        nature of the interview, Ledbetter provided the following information:

        The below is an interview summary. It is not intended to be a verbatim
        account and does not memorialize all statements made during the interview.
        Communications by the parties in the interview room were electronically
        recorded. The recording captures the actual words spoken.

        On June 4, 2020, Ledbetter was advised his Miranda rights and signed a form
        acknowledging his rights and agreeing to talk to agents.

        Ledbetter claimed that McLoud Police Department and Chief Wesley Elliot had
        been harassing him. He said that he was being disarmed for walking or
        jogging down the road with his weapons. He mentioned that they would ask
        him to disarm for their safety, and Ledbetter said "you are going to have to
        kill me next time, because I am tired of this." He said that he would pull
        his weapon on law enforcement if they pull a weapon on him.

        Ledbetter said that McLoud PD was corrupt. He had been getting together
        with a group of friends to train to be able to protect themselves from
        police. Ledbetter mentioned Officer Jones had a girlfriend that lived next
        to his parents and sister in McLoud. Jones had stopped his sister while off
        duty and harassed her on the road leading up to their residence. Ledbetter
        mentioned that Officer Jones identified himself as the Chief of Police
        during this incident. Ledbetter mentioned that the altercation with Officer
        Jones also involved a dispute over Jones dumping trash in Ledbetter's
        mother's dumpster.

        Ledbetter had purchased his body armor from BulletProofMe in Texas. When he
        heard about the altercation happening with Officer Jones and his family, he




   Investigation on    06/04/2020           at   Oklahoma City, Oklahoma, United States (In Person)

   File #   266N-OC-3241877                                                                                                  Date drafted    06/04/2020

   by   RICH JOSHUA E, James A. Anderson
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          donned this body armor and grabbed his rifle and went to his mom's
          property. Ledbetter had purchased his AK rifle from 2 Rivers in Oklahoma
          City and modified it himself. Ledbetter acknowledged that he modified the
          AK for select fire and that you cannot buy it already select fire. He
          acknowledged that he would have modified it before the McLoud incident
          because he wanted his "rights." He acknowledged that it was illegal to
          modify his rifle that way.

          Ledbetter said that Officer Jones threatened his step-brother, Dylan Harris,
          and threatened to burn down his mother's house. He said that Jones had beat
          his girlfriend, Dawn. Ledbetter said that Jones ran off when Ledbetter
          showed up to the scene, and called someone about Ledbetter being there in
          "BDUs and a rifle." Ledbetter said that other than Jones, Chief Elliot had
          threatened him when he told Ledbetter that "we'll be seeing you again."
          Ledbetter took that as a threat. Ledbetter denied that his mother's
          property, where he has been residing since the incident, was a "compound."
          He acknowledged that he built up the sandbags for protection.

          Ledbetter said that the back trailer on his property is occupied by some
          renters. Ledbetter could not remember their names, other than one of the
          daughters. Her name is Mckenzie and Ledbetter said that she had been
          solicited by McLoud police. Ledbetter had been living in the shipping
          container at the front of his mom's property. Ledbetter said they do not
          train much on the property, but they did do the "kill house" training on his
          mom's property.

          Ledbetter said the "grenade" on his kill house video was actually a sparkler
          bomb firework. Ledbetter has made homemade grenades, however, and he
          described how he did it. Ledbetter used grenade bodies from Army surplus
          stores, filled them with tannerite, black powder, and firework cannon fuse.
          Ledbetter said "legality at this point went out the window" and that "all
          the good stuff is illegal now." He said he tested the grenade once and it
          worked. Ledbetter said that he had two in case "they hit me" and that he
          did not have time to make more.

          Ledbetter said that "they are just going to kill us anyway" and that "they
          are killing people in their bed now." Ledbetter said that most people that
          want to help are just civilians so they need to be trained. In the CQB
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          video, he was shooting the AK that he modified to be full auto. The other
          guy in that video is also ex-military. The full auto AK his friend shot in
          that video was also modified by Ledbetter to shoot that way. Ledbetter said
          that he went to McLoud Police Station recently "with a squad of people."
          Ledbetter said he stopped at McLoud Police station on his way to help the
          Tulsa protests with his weapons because the police treat him differently
          when he is armed.

          Ledbetter said he went to Guthrie recently to protest their announcement
          that they would enforce a rule that people had to wear masks. He said they
          went to see if the police would use violence on them if they were not in
          masks. Ledbetter said he was in Kansas and he knew why the interviewing
          agents had seen that report on the Open Kansas rally. Ledbetter said that
          he had told a reporter that he had illegal weapons.

          Ledbetter said that he was just standing up because people wanted to kill
          him. He said that New Sons of Liberty (NSOL) were "nothing" and they
          believed in "no violence on peaceful freedoms." He said that the NSOL
          Facebook page was set up to get people together to train. He said they are
          not a militia because militias are "gay" and the "don't do shit." They
          stand for "no violence on peaceful freedoms" and no "forced taxation." He
          said taxation is just a form of intelligent slavery.

          Ledbetter said that the friend beside him in the CQB video is a former
          Marine, where he was a heavy equipment operator. The AK that Ledbetter's
          friend used on full auto in that video is Ledbetter's if it meant that it
          would get his friend criminal charges. Ledbetter said that it was
          "registered" to Ledbetter. Ledbetter admitted that he was "doing it
          illegally."

          Ledbetter believed that McLoud Police had killed and covered up a prior
          McLoud officer who was too "by the book," who otherwise was reported as
          having committed suicide. Ledbetter said that the other local departments
          were afraid of McLoud police. Ledbetter said that he had proof of McLoud
          Police officers engaging in pedophilia and that they have raided his
          property. Ledbetter said that a McLoud school resource officer had told a
          girl at high school that she looked like a porn star. Ledbetter said the
          the Chief new this and vouched for the officer. Ledbetter said that the
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          school had fired all McLoud resource officers recently and hired private
          security.

          Ledbetter said that he never threatened McLoud police. In the video where
          he told the chief that he was going to drive away without his seatbelt, and
          they wanted to kill him over that, that Ledbetter would "spill their
          blood." Ledbetter acknowledged that this was a threat if they tried to kill
          him, and that they did try to kill him.

          Ledbetter said that he went to the police station with his mother for her to
          file a report against Officer Jones to provide security. Ledbetter claimed
          that he only took his handgun into the police station, despite being told
          not to by the Chief. Ledbetter acknowledged that the chief was being
          respectful, but felt that it was "bullshit." Ledbetter acknowledged that in
          this situation that he outgunned the McLoud Police Chief, and that
          "civilians always should" outgun police. Ledbetter said that he would have
          felt threatened if he was in the Police Chief's position, but that the
          Police Chief is a horrible person.

          Ledbetter acknowledged it was illegal to have a select fire rifle if you do
          not "pay the crown off enough."

          Ledbetter said that he presented all the evidence openly that makes him look
          bad. He said McLoud took down their Facebook page becuase they have
          something to hide. Ledbetter said that he has nothing to hide.

          Ledbetter was told that he was arrested initially due to the state warrant
          for eluding, which Ledbetter said the police were trying to stop him
          illegally. Ledbetter again accused McLoud police of child solicitation and
          pedophilia. He said that the officer that tried to stop him had been
          watching him from across the street. Ledbetter said that he was not
          speeding because it was "life or death for" him and that they were "hunting"
          him. He said that he did not have a blinker out because he had fixed it
          earlier that day.

          Ledbetter acknowledged that he refused to pull over because it was a "snatch
          and grab." He acknowledged that he had his illegal fun with him during the
          attempted traffic stop and that it was "the only gun" he had at the time.
          He also acknowledged that he racked the slide back during the police chase
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          to put his          weapon in "condition one." When he got back to the compound, he
          called for          help and turned to face them without cover. He said that he knew
          they would          not be able to do much to him with a pistol. Ledbetter said that
          the police          officer pulled a weapon on him he "would have defended" himself.

          Ledbetter said that he has been raided by McLoud police but they have never
          come into his house. He said that they cut the fence one time and that his
          stepfather has seen police hiding in the bushes like Navy SEALS. He said
          that they will stage vehicles outside and walk up through the woods. He
          said McLoud does these things without "comms" and did not report it to other
          jurisdictions. Ledbetter said that Chief Wes Elliot has a lot of money and
          power. He said the McLoud police are the "mob." Ledbetter acknowledged
          going with friends to McLoud police station recently and agreed he was
          seeking a confrontation.

          Ledbetter said that he would only be assured that McLoud was not trying to
          kill him if the Bureau announced that they would investigate the McLoud
          police department. Ledbetter said that he has done "none of the
          aggression." He said that the McLoud police officers are engaging in
          pedophilia. McKenzie knows the other girls that are eyewitnesses to Officer
          Mackie Keener (phonetic) that was grooming girls. Ledbetter said that Clay
          Cox, an "ex-counter intel" Air Force member, has information on the McLoud
          police department. Ledbetter said that in the future law enforcement can
          just call him, unless we "steal all" his "stuff." He said if the Bureau
          does this, the "relationship is broken."

          Ledbetter said that he talked to an officer from Pottawatomie County the
          night of the chase. He also indicated that he had offered information to
          the FBI before from his time in Syria. He said he had information about a
          Kurdish prison in Erbil, Iraq that the US was probably behind. Ledbetter
          said he took the information to Senator Lankford's office. He said a lot of
          the issues with him and police are "miscommunications." He agreed that his
          first encounter with the McLoud Police Chief was threatening, but he thought
          they were going to send people to kill him that day. He said he had "a lot
          of rage built up."

          Ledbetter said that he pointed a laser at a plane recently because he
          thought it was Chief Wes Elliot, who he knew used to have an airplane.
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          Ledbetter said that they switched to a drone at night. Ledbetter said that
          it was an infrared illuminator that he pointed at the aircraft.

          Ledbetter said that his friends would not be violent if the Bureau wanted
          peace, the Bureau would have to make a statement about investigating McLoud
          and saying Ledbetter did nothing wrong. He said all of his friends are
          dangerous, but not "assholes." He said when they were at the protests
          recently, they were there to help people and provide medical care during the
          protests. Ledbetter said that Tim Harper recently reached out to Ledbetter,
          and he called Ledbetter to the McLoud police station. Harper had gone to
          the station with Ledbetter's mom because of a town hall meeting that had
          occurred there.

          Ledbetter said that he has problems with the laws of the country, not just
          with McLoud police. He said that he got beat up all the time in high
          school, and now if kids defend themselves in fights in high school, kids get
          felonies for that. He said that it is a "dictatorship like no other." He
          said this was "a pivotal moment in history." Ledbetter disagreed with force
          taxation because he disagreed with slavery.

          Ledbetter said that both full auto AKs were registered to him and he made
          both full auto. He purchased the tannerite at Academy, and the black powder
          at either Academy or H&H. He believed that it was legal to make grenades as
          long as you used them on the spot and did not transport them. However, he
          acknowledged that he has driven around with the grenades that he made. He
          said that he wanted the truth to come out even if he got punished for it.
          He acknowledged that some of his beliefs are against the law, but he did not
          "make this to kill anyone." He said he has the grenades in case "they" raid
          his property.

          Ledbetter said that he only ordered two AKs and that his friend had the
          other AK. He did not care if he went to prison for 40 years, but people on
          other continents do care. He said "they" could kill you for trivial laws or
          if you did not pay fines. He recently conducted an interview for Oklahoma
          Taxpayers Unite.

          Ledbetter had been in the Marines for four years. His favorite commander
          was Major Marang, but he did not like Captain Peterson. He spend 7-8 months
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          in Iraq and Syria, mostly in Sinjar. He had fought with various Kurdish
          forces, mostly as a machine gunner. Ledbetter said that the stuff that he
          has been doing in Oklahoma was more dangerous than it was overseas. His
          tattoo "TF060" was a reference to his unit in Iraq and Syria. His other
          tattoo, the dagger and skull, referenced the OSS.

          Ledbetter said that Clay Cox had evidence of McLoud police printing out fake
          $100 bills. Ledbetter said that Braedon Chesser was an ex-Marine and was a
          really good guy. He said that Chesser had Ledbetter's other AK rifle.
          Additionally, Ledbetter said that Chesser was the other guy in the CQB
          video.

          He said that there were people in other countries that would come when they
          found out he was arrested. He warned that when his friends saw the
          "violence" done to him for his "peaceful freedoms," there would be
          violence. He said that if he was sent to prison for years or if his "stuff"
          was "stolen from" him, they would fight.




                                                                                      LED_000607
